               Case 3:23-cv-05441-BHS Document 3 Filed 05/18/23 Page 1 of 1




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 5                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
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        CHRISTOPHER C JOHNSON,
 7                                                           CASE NO. 3:23-CV-05441-BHS
                                  Plaintiff,
 8                                                           ORDER GRANTING APPLICATION
                  v.                                         TO PROCEED IN FORMA PAUPERIS
 9
        EQUIFAX INC,
10
                                  Defendant.
11
            Plaintiff Christopher C. Johnson has filed an application to proceed in forma pauperis
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     (“IFP”) in the above-entitled action. Dkt. 1. After careful consideration of the application, the
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     governing law and the balance of the record, the Court ORDERS as follows:
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            (1)        Because Plaintiff does not appear to have funds available to afford the $402.00
15
     filing fee, Plaintiff financially qualifies for IFP status pursuant to 28 U.S.C. § 1915(a)(1).
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     Therefore, Plaintiff’s IFP application, Dkt. 1, is GRANTED. The Court notes, however, that this
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     case may be appropriate for consolidation with Mr. Johnson’s previously filed cases.
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            (2)        The Clerk of the Court is directed to send a copy of this Order to Plaintiff’s
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     counsel and to the Honorable Benjamin H. Settle.
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            Dated this 18th day of May, 2023.
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23                                                           David W. Christel
                                                             Chief United States Magistrate Judge
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     ORDER GRANTING APPLICATION TO
     PROCEED IN FORMA PAUPERIS - 1
